               Case 0:24-cv-61124-RS Document
 O JS 44 (R ev. 2/08)                    CIVIL1-1 Entered
                                                COVER     on FLSD Docket 06/27/2024 Page 1 of 1
                                                        SHEET
 The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
 by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
 the civil docket sheet. (SEE IN STR U C TIO N S O N THE R EV ER SE O F T HE FO R M .)   NOTICE: Attorneys MUST Indicate All Re-filed Cases Below.
 I. (a) PLAINTIFFS                                                                                                DEFENDANTS
 GIANNI VERSACE, S.R.L.                                                                                           THE INDIVIDUALS, BUSINESS ENTITIES AND
                                                                                                                  UNINCORPORATED ASSOCIATIONS IDENTIFIED ON
     (b) County of Residence of First Listed Plaintiff                                                            County of Residence of First Listed Defendant
                                   (EX C EPT IN U .S. PLAIN TIFF C ASES)                                                                              (IN U .S. PLAIN TIFF C ASES O N LY )

 (c) Attorney’s (Firm N ame, Address, and Telephone N umber)                                                              N O TE: IN LAN D C O N D EM N ATIO N C ASES, U SE THE LO C ATIO N O F THE TR AC T
                                                                                                                                      LAN D IN V O LV ED .
Stephen M. Gaffigan/STEPHEN M. GAFFIGAN, P.A.
401 East Las Olas Blvd., Suite 130-453, Ft. Lauderdale, Florida 33301                                              Attorneys (If Know n)
(954) 767-4819

 (d) Check County Where Action Arose:              M IAM I- D AD E       MONROE           ✔
                                                                                             BR O W AR D       PALM BEA CH             M AR TIN         ST. LU C IE       IN D IAN R IV ER      O KEEC HO BEE
                                                                                                                                                                                                      HIG HLAN D S

 II. BASIS OF JURISDICTION                             (Place an “ X ” in O ne Box O nly)              III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X ” in O ne Box for Plaintiff
                                                                                                                (For D iversity C ases O nly)                                            and O ne Box for D efendant)
  1    U .S. G overnment              ✔ 3     Federal Q uestion                                                                               PTF     DEF                                              PTF      DEF
           Plaintiff                              (U .S. G overnment N ot a Party)                        C itizen of This State                 1      1        Incorporated or Principal Place           4    4
                                                                                                                                                                   of Business In This State

  2    U .S. G overnment                4      D iversity                                               C itizen of Another State             2            2   Incorporated and Principal Place             5       5
           D efendant                                                                                                                                                 of Business In A nother State
                                                  (Indicate C itizenship of Parties in Item III)

                                                                                                          C itizen or Subject of a              3            3   Foreign N ation                              6       6
                                                                                                             Foreign C ountry
 IV. NATURE OF SUIT (Place an “X ” in O ne B ox O nly)
            CONTRACT                                                 TORTS                                F O R FE IT U R E /P E N A L T Y                   B A N K R U PT C Y                O T H E R ST A T U T E S
    110 Insurance                       P E R SO N A L IN JU R Y         P E R SO N A L IN JU R Y           610 Agriculture                   422 Appeal 28 U SC 158                    400 State R eapportionment
    120 M arine                        310 Airplane                      362 Personal Injury -            620 O ther Food & D rug           423 W ithdraw al                          410 Antitrust
    130 M iller Act                    315 Airplane Product                  M ed. M alpractice            625 D rug R elated Seizure             28 U SC 157                           430 Banks and Banking
    140 N egotiable Instrument              Liability                 365 Personal Injury -                     of Property 21 U SC 881                                                  450 C ommerce
    150 R ecovery of O verpayment      320 Assault, Libel &                  Product Liability             630 Liquor Law s                   P R O PE R T Y R IG H T S                 460 D eportation
        & Enforcement of Judgment            Slander                   368 Asbestos Personal                640 R .R . & Truck                820 C opyrights                           470 R acketeer Influenced and
    151 M edicare Act                  330 Federal Employers’                Injury P roduct               650 Airline R egs.                830 Patent                                    C orrupt O rganizations
    152 R ecovery of D efaulted             Liability                         Liability                     660 O ccupational                ✘
                                                                                                                                                840 Trademark                             480 C onsumer C redit
        Student Loans                   340 M arine                   P E R SO N A L P R O P E R T Y             Safety/Health                                                            490 Cable/Sat TV
        (Excl. V eterans)               345 M arine Product           370 O ther Fraud                     690 O ther                                                                   810 Selective Service
    153 R ecovery of O verpayment           Liability                 371 Truth in Lending                            LABOR                    SO C IA L SE C U R IT Y                 850 Securities/C ommodities/
         of V eteran’s Benefits         350 M otor V ehicle           380 O ther Personal                  710 Fair Labor Standards          861 HIA (1395ff)                           Exchange
    160 Stockholders’ Suits            355 M otor V ehicle                   Property D amage                   Act                           862 Black Lung (923)                      875 C ustomer C hallenge
    190 O ther C ontract                    Product Liability         385 Property D amage                 720 Labor/M gmt. R elations       863 D IW C /D IW W (405(g))                   12 U SC 3410
    195 C ontract Product Liability    360 O ther Personal                   Product Liability             730 Labor/M gmt.R eporting        864 SSID Title X V I                      890 O ther Statutory Actions
    196 Franchise                           Injury                                                               & D isclosure Act             865 R SI (405(g))                         891 Agricultural Acts
       R E A L P R O PE R T Y              C IV IL R IG H T S          P R ISO N E R P E T IT IO N S         740 R ailw ay Labor Act            F E D E R A L T A X SU IT S               892 Economic Stabilization Act
    210 Land C ondemnation             441 V oting                   510 M otions to V acate              790 O ther Labor Litigation       870 Taxes (U .S. Plaintiff                893 Environmental M atters
    220 Foreclosure                    442 Employment                        Sentence                      791 E m pl. R et. Inc . Security       or D efendant)                        894 Energy Allocation Act
    230 R ent Lease & Ejectment        443 Housing/                      H abeas C orpus:                   Act                               871 IRS— Third Party                   
                                                                                                                                                                                            895 Freedom of Information Act
    240 Torts to Land                   Accommodations                530 G eneral                                                                 26 U SC 7609
    245 Tort Product Liability         444 W elfare                  535 D eath Penalty                           IM M IG R A T IO N                                                  900 Appeal of Fee D etermination
                                         445 Amer. w /D isabilities -                                         462 N aturalization                                                          U nder Equal Access to Justice
  290 All O ther R eal Property                                      540 M andamus & O ther 
                                         Employment                                                           Application
                                         446 Amer. w /D isabilities -                                         463 Habeas C orpus-Alien
                                                                      550 C ivil R ights            
                                         O ther                                                               D etainee
                                                                                                              465 O ther Immigration                                                        950 C onstitutionality of State
                                        440 O ther C ivil R ights           555 Prison C ondition                                                                                    
                                                                                                              Actions                                                                          Statutes


V. ORIGIN                    (Place an “X ” in O ne B ox O nly)                                                                                                                                        Appeal to District
                                                                                                                                        Transferred from
✔
 1 Original                 2 Removed from                   3 Re-filed-                           4 Reinstated or  5 another district                         6 Multidistrict          7 Judge from
                                                                                                                                                                                                 Magistrate
        Proceeding                 State Court                         (see VI below)                     Reopened                      (specify)                          Litigation
                                                                                                                                                                                                       Judgment
                                                                         a) Re-filed Case  YES ✔
                                                                                                 NO                                 b) Related Cases  YES 
                                                                                                                                                            ✔ NO
 VI. RELATED/RE-FILED                           (See instructions
 CASE(S).                                       second page):            JUDGE                                                                        DOCKET NUMBER

                                            Cite the U.S. Civil Statute under which you are filing and Write a Brief Statement of Cause (Do not cite jurisdictional statutes unless
                                            diversity):
 VII. CAUSE OF ACTION Trademark infringement and counterfeiting pursuant to 15 USC 1114

                                                                 5
                                            LENGTH OF TRIAL via ______ days estimated (for both sides to try entire case)
 VIII. REQUESTED IN                          CHECK IF THIS IS A CLASS ACTION                                 DEMAND $                                          CHECK YES only if demanded in complaint:
       COM PLAINT:                               UNDER F.R.C.P. 23                                                                                              JURY DEMAND:          Yes   ✔ No
 ABOVE INFORMATION IS TRUE & CORRECT TO                                       SIG N ATU R E O F ATTO R N EY O F R EC O R D                                                  D ATE
 THE BEST OF MY KNOWLEDGE
                                                                                                                                                                         June 27, 2024
                                                                                                                                      F O R O F F IC E U SE O N L Y

                                                                                                                            AM O U N T                               R EC EIPT #                           IFP
